Case 2:17-cr-00329-JCZ-KK Document 263 Filed 09/25/20 Page 1 of 7 PageID #: 1146




                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF LOUISIANA
                                      LAKE CHARLES DIVISION


 UNITED STATES OF AMERICA                                      CASE NO. 2:17-CR-00329-03

 VERSUS                                                        JUDGE ZAINEY

 ERIC BELONEY (03)                                             MAGISTRATE JUDGE KAY


                                            RULING AND REASONS

            Before the Court is an “Ex-Parte Motion” (Doc. 260) filed by Defendant Eric

 Beloney that the Court construes as a Motion for Compassionate Release pursuant to the

 First Step Act under 18 U.S.C. § 3582(c)(1)(A). In his motion, Beloney requests that he be

 released early due to the COVID-19 pandemic at the Oakdale Federal Correctional

 Institution and his current health conditions. Beloney complains that he has high blood

 pressure, obesity, and lung infections. 1

            The United States concedes that Beloney has at least one health condition

 recognized by the Centers for Disease Control (CDC) as a COVID-19 risk factor, but

 argues that Beloney’s motion should be denied because he has not demonstrated that he is

 not a danger to the safety of any other person or to the community, and/or that his release

 is consistent with the 18 U.S.C, § 3553(a) factors.

            A judgment, including a sentence of imprisonment, “may not be modified by a

 district court except in limited circumstances.” Dillon v. United States, 560 U.S. 817, 825



 1
     Beloney notes that he tested positive for Tuberculosis.
Case 2:17-cr-00329-JCZ-KK Document 263 Filed 09/25/20 Page 2 of 7 PageID #: 1147




 (2010).   Under 18 U.S.C. 3582(c), a court generally may not modify a term of

 imprisonment once it has been imposed, except in three circumstances; (1) upon a motion

 for reduction in sentence under 18 U.S.C. § 3582(c)(1)(A); (2) to the extent otherwise

 expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal Procedure,

 18 U.S.C. § 3582(c)(1)(B); and (3) where the defendant was sentenced based on a

 retroactively lowered sentencing range, 18 U.S.C. § 3582(c)(2).

        Section 3852(c)(1)(A) permits a court to reduce a prisoner’s sentence “if he finds

 that” (1) “extraordinary and compelling reasons warrant such a reduction” and (2) the

 reduction is “consistent with applicable policy statements issued by the Sentencing

 Commission.”

        Prior to 2018, only the Director of the BOP could file these kinds of compassionate

 release motions. In 2018, Congress passed, and President Trump signed the First Step Act,

 which among other actions, amended the compassionate release process. Under the First

 Step Act, § 3582(c)(1)(A) now allows prisoners to directly petition courts for

 compassionate release.

        Section 3582(c)(1)(A) provides that any reduction must be “consistent with

 applicable policy statements issued by the Sentencing Commission.” 18 U.S.C, §

 3582(c)(1)(A). Here, the applicable policy statement, U.S.S.G. § 1B1.13, provides that a

 court may reduce the term of imprisonment after considering the § 3553(1) factors if the

 Court finds that (i) “extraordinary and compelling reasons warrant the reduction;” (ii) “the

 defendant is not a danger to the safety of any other person or the community, as provided



                                         Page 2 of 7
Case 2:17-cr-00329-JCZ-KK Document 263 Filed 09/25/20 Page 3 of 7 PageID #: 1148




 in 18 U.S.C. § 3142(g)”; and (iii) “the reduction is consistent with this policy statement.” 2

 U.S.S.G. § 1B1.13.

          The policy statement includes an application note that specifies the types of medical

 conditions that qualify as “extraordinary and compelling reasons.” First, that standard is

 met if the defendant is “suffering from a terminal illness,” such as “metastatic solid-tumor

 cancer, amyotrophic lateral sclerosis (ALS), end-stage organ disease, [or] advanced

 dementia.” U.S.S.G. § 1B1.13, cmt. n.1(A)(i). Second, the standard is met if the defendant

 is: (1) suffering from a serious physical or medical condition, (2) suffering from a serious

 functional or cognitive impairment, or (3) experiencing deteriorating physical mental

 health because of the aging process, any of which substantially diminishes the ability of

 the defendant to provide self-care within the environment of a correctional facility, and

 from which he or she is not expected to recover. U.S.S.G. § 1B1.13, cmt. n.1(A)(ii).

          The application note also sets forth other conditions and characteristics that qualify

 as “extraordinary and compelling reasons” related to the defendant’s age and family

 circumstances. U.S.S.G. § 1B1.13, cmt. n.1(B)-(C). Finally, the note recognizes the

 possibility that the BOP could identify other grounds that amount to “extraordinary and

 compelling reasons.” U.S.S.G. § 1B1.13, cmt. n.1(D).




 2
   The policy statement refers only to motions filed by the BOP director. That is because the policy statement was last
 amended on November 1, 2018, and until the enactment of the First Step Act on December 21, 2018, defendants were not
 entitled to file motions under § 3582(c). See first Step Act of 2018, Pub. L. No. 115-391, § 603(b), 132 Stat. 5194, 5239.
 In light of the statutory command that any sentence reduction be “consistent with applicable policy statements issued by
 the Sentencing Commission,” § 35829c)(2)(A)(ii), and the lack of any plausible reason to treat motions filed by defendants
 differently from motions filed by BOP, the policy statement applies to motions filed by defendants as well.

                                                      Page 3 of 7
Case 2:17-cr-00329-JCZ-KK Document 263 Filed 09/25/20 Page 4 of 7 PageID #: 1149




            The BOP has issued a regulation to define its own consideration of compassionate

 release requests. See BOP Program Statement 5050.50. 3 This Program Statement was

 amended effective January 17, 2019, following the First Step Act’s passage. It sets forth in

 detail the BOP’s definition of the circumstances that may support a request for

 compassionate release, limited to the same bases the Sentencing Commission identified:

 serious medical condition, advanced age, and family circumstances. The policy statement

 is binding under the express terms of § 3582(c)(1)(A), and because it concerns only

 possible sentence reductions, not increases, it is not subject to the rule of Booker v. United

 States, 543 U.S. 220 (2005), that any guideline that increases a sentence must be deemed

 advisory. See Dillon v. United States, 560 U.S. 817, 830 (2010) (making clear that the

 statutory requirement in § 3582 that a court heed the restrictions stated by the Sentencing

 Commission is binding).

            On December 14, 2017, Beloney was charged by a Grand Jury Indictment with one

 count of conspiracy to distribute, and to possess with intent to distribute, “five kilograms

 or more of a mixture or substance containing a detectable amount of cocaine” in violation

 of 21 U.S. C. §§ 841 (a)(1), (b)(1)(A) and 846 (Count 1); and one count of possession “with

 intent to distribute 500 grams or more of a mixture and substance containing a detectable

 amount of cocaine” in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B) (Count 2). 4

 Beloney plead guilty to Count 2 of the Indictment. 5




 3
     Available at https://www.bop.gov/policy/progstat/5050_50EN.pdf .
 4
     Doc. 1.
 5
     Doc. 140.

                                                       Page 4 of 7
Case 2:17-cr-00329-JCZ-KK Document 263 Filed 09/25/20 Page 5 of 7 PageID #: 1150




         Beloney’s sentence included a two-level increase because he possessed a firearm

 (an investigation confirmed it was stolen) in connection with his conduct. 6 Beloney

 received a “Chapter Four enhancement,” pursuant to U.S.S.G. § 4B1.1(b)(2) because he

 was classified as a “career offender.” 7

         Due to his numerous prior convictions, Beloney had a criminal history score of 21,

 which also established a criminal history category of VI. 8 Beloney’s criminal history

 included five (5) felony convictions in state court for controlled substance offenses, all of

 which involved the distribution of cocaine. 9 Beloney’s offense level of 31 and Criminal

 History Category of VI correlated to an advisory range of 188-235 months. 10 Beloney was

 sentenced to a 188-month term of imprisonment followed by five (5) years of supervised

 release. 11 Beloney has served 49 months (26.4%) of his 188-month sentence as of

 September 14, 2020.

         As noted by the Government, Beloney complains of certain health conditions, but

 fails to provide any medical records to substantiate his claim. See United States v. Clark,

 2020 WL 1557397, *4 (M.D. La. 2020) (recognizing that “[g]enerally, the defendant has

 the burden to show circumstances meeting the test for compassionate release”); see also,

 United States v. Aguila, 2020 WL 1812159, at *2 (E.D. Ca. 2020) (“Although Defendant




 6
   PSR ¶ 26.
 7
   Id. ¶ ¶ 31-42.
 8
   Id. ¶ ¶ 67 and 70.
 9
   Id. 68.
 10
    Id. ¶ 110.
 11
    Doc. 170, Judgment dated November 16, 2018.

                                                  Page 5 of 7
Case 2:17-cr-00329-JCZ-KK Document 263 Filed 09/25/20 Page 6 of 7 PageID #: 1151




 claims he has high blood pressure, high cholesterol, sleep apnea, and diabetes, Defendant

 fails to provide evidence to verify these claims.”)

         The Government has submitted Beloney’s medical records which reveal that he is

 obese, however, his hypertension is stable and well-controlled with medication. 12 The

 Government further informs the Court that even though Beloney has been diagnosed with

 “LTBI” (a latent form of the tuberculosis infection, without evidence of clinically

 manifested active tuberculosis), he has denied symptoms associated with the disease and

 declined prophylactic treatment. 13 An x-ray of Beloney’s chest reveals “normal” findings

 and “[n]o radiographic evidence of active tuberculosis.” 14

         The Court agrees with the Government that Beloney’s medical ailments are of a

 type that can be controlled and do not present any impediment to his ability to provide self-

 care in the institution. See United States v. Maher, 2020 WL 390884, at *2 (January 22,

 2020) (denying compassionate release to a defendant whose medical records showed “a

 history of Crohn’s disease, prostate cancer, and hepatitis C, as well as significant

 unexplained weight loss, bacterial pneumonia, and acute exacerbation of bronchiectasis”

 on the ground that the records did not show his inability to care for himself).

         Furthermore, the Court must also consider all pertinent circumstances, including the

 § 3553(a) factors, and the possible danger to the community. See 18 U.S.C. § 3582(c)(1)(A)

 (requiring consideration of the § 3553(a) factors “as applicable”) and U.S.S.G. § 1B1.13(2)

 (requiring consideration of whether the defendant is “a danger to the safety of any other


 12
    Government exhibit 1, dated May 21, 2020.
 13
    Government exhibit 2, dated January 27, 2020.
 14
    Government exhibit 3, dated January 24, 2020.

                                                    Page 6 of 7
Case 2:17-cr-00329-JCZ-KK Document 263 Filed 09/25/20 Page 7 of 7 PageID #: 1152




 person or to the community as provided in 19 U.S.C. § 3142(g). Beloney has not

 demonstrated that he will not pose a danger to the community if released, or that his

 releasee comports with the applicable § 3553(a) factors.

          Beloney was convicted of possessing with intent to distribute 500 grams or more

 of a mixture and substance containing a detectable amount of cocaine.” 15 In connection

 with his offense conduct, Beloney also conspired with others to distribute cocaine and

 acquired approximately 9 pounds of cocaine during the course of the conspiracy. 16 During

 the execution of a search warrant at Beloney’s residence, investigators recovered and

 seized additional controlled substances, approximately $3,432.00 in cash, and a handgun

 that had been reported as stolen. 17

          The Court finds that based on his criminal history, Beloney will pose a danger to

 the community if he is released, and he has failed to meet his burden to show circumstances

 that would warrant a compassionate release. Accordingly,

          IT IS ORDERED that Beloney’s Motion for Compassionate Release is hereby

 DENIED.

          THUS DONE AND SIGNED in New Orleans, Louisiana on this 25th day

 of September, 2020.



                                           ______________________________________
                                           JAY C. ZAINEY
                                           UNITED STATES DISTRICT JUDGE


 15
    Doc. 179, p. 1.
 16
    Doc. 140-2, p. 1.
 17
    Id. pp. 2-3.

                                          Page 7 of 7
